                   Case 3:02-cr-00095-LC                  Document 215       Filed 04/29/08        Page 1 of 1
OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                for the

                                            NORTHERN DISTRICT OF FLORIDA
                   United States of America                       )
                              v.                                  )
                        Steven Watts                              ) Case No: 3:02cr95-005/LAC
                                                                  ) USM N o: 05429-017
Date of Previous Jud gment:        24 November 2003               )
(Use Date of Last Amended Judgment if Applicable)                 ) Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of 9 the defendant 9 the Director of the Bureau of Prisons : the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       9 DENIED. : GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 364        months is reduced to       294                  .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:        38               Amended Offense Level:                                     36
Criminal History Category:     IV               Criminal History Category:                                 IV
Previous Guideline Range:  324    to 405 months Amended Guideline Range:                                262      to 327 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
: The reduced sentence is within the amended guideline range.
9 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
9 Other (explain):
III. ADDITIONAL COMMENTS



Except as provided above, all provisions of the judgment dated 24 November 2003 shall remain in effect.
IT IS SO ORDERED.

Order Date:           29 April 2008                                                       s /L.A. Collier
                                                                                           Judge’s signature


Effective Date:                                                           Lacey A. Collier, Senior U.S. District Judge
                     (if different from order date)                                     Printed name and title
